Case 3:16-cv-01389-DRH-SCW Document 43 Filed 12/06/17 Page 1 of 1 Page ID #203



                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF ILLINOIS

 MALINDA FOUCHE,

              Plaintiff,
                                                      No. 16-cv-1389-DRH-SCW
 v.

 PREFERRED PEDIATRIC HOME
 HEALTH CARE, INC., AND JANE DOSS,

              Defendants.

                             JUDGMENT IN A CIVIL CASE

        DECISION BY COURT.      This matter is before the Court for the purpose of docket

 control.

        IT IS HEREBY ORDERED AND ADJUDGED that pursuant to the Settlement

 Approval and Dismissal Order (Doc. 42), this case is DISMISSED with prejudice.

                                        JUSTINE FLANAGAN,
                                        ACTING CLERK OF COURT

                                        BY:     /s/ Alex Francis
                                                   Deputy Clerk

 APPROVED:                               Judge Herndon
                                         2017.12.06
                                         16:50:26 -06'00'
              U.S. DISTRICT JUDGE
              U. S. DISTRICT COURT
